                                                     ORDERED ACCORDINGLY.


                                                     Dated: January 19, 2024




                                                     _________________________________
                                                     Brenda K. Martin, Bankruptcy Judge




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             The payments are due on or before the 25th day of each month commencing October 25,
2
      2022. Debtors are advised that when payments are remitted late, additional interest may accrue
      on secured debts which may result in a funding shortfall at the end of the Plan term. Any
3
      funding shortfall must be cured before the plan is deemed completed.
4

5              Within 14 days of filing them, the Debtors will provide a copy of the 2022 through 2026
       federal and state income tax returns to their attorney, who is to provide the returns to the Trustee
6
       through www.bkdocs.us.
7

8
               (2) Other Property. The Debtor shall turnover their nonexempt net federal and state
       income tax refunds for the tax year of 2022 to be applied as supplemental payments to be paid first to
9      unsecured, priority claims, and then to unsecured, nonpriority claims. In the event that other property is
10     submitted, it shall be treated as supplemental payments.

11            (B) DURATION. This Plan shall continue for 60 months from the first regular monthly
      payment described in Paragraph (A)(l) above. If at any time before the end of the Plan period all
12
      claims are paid, then the Plan shall terminate. In no event will the term of the Plan be reduced to
13    less than 60 months, exclusive of any property recovered by the Trustee, unless all allowed
14    claims are paid in full.

15
              (C) CLASSIFICATION AND TREATMENT OF CLAIMS. Claims shall be classified
16    as listed below. The Plan and this Order shall not constitute an informal proof of claim for any
17    creditor. This Order does not allow claims. Claims allowance is determined by§ 502 and the
      Federal Rules of Bankruptcy Procedure. The Trustee shall receive the percentage fee on the Plan
18
      payments pursuant to 28 U.S.C. § 586(e), then the Trustee will pay secured creditors or allowed
19    claims in the following order:
20
               (1) Administrative expenses:
21

22                Attorney Fees. Tom McAvity, shall be allowed total compensation of $4,500.00.
23                Counsel received $50.00 prior to filing this case and will be paid $4,450.00 by the
                  Chapter 13 Trustee. Tom McAvity shall be allowed additional compensation of
24
                  $1,000.00 for the First Modified Plan and will be paid by the Chapter 13 Trustee.
25

26             (2) Claims Secured by Real Property:

27                                                         -2-
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2              (a) None.

3
            (3) Claims Secured by Personal Property:
4

5             (a) American Frist Credit Union, secured by a lien in a 2021 Starcraft, shall be paid a
                  secured claim of $31,116.48 with 5.500% interest. The creditor will receive
6
                  adequate protection payments of $300.00 per month. The balance of the debt shall
7
                  be classified as unsecured.
8

9           (4) Unsecured Priority Claims:
10
               (a) Internal Revenue Service shall be paid an unsecured priority claim of $8,291.17
11
                   with no interest for income taxes.
12             (b) Arizona Department of Revenue shall be paid an unsecured priority claim of
13                 $93.83 with no interest for income taxes.
               (c) North Dakota Office of State Tax Commissioner shall be paid an unsecured
14
                   priority claim of $3,592.31 with no interest for income taxes
15             (d) North Dakota Child Support State Disbursement Unit shall be paid an unsecured
16                 priority claim of $3,333.44.
               (e) North Dakota Child Support State Disbursement Unit shall be paid an unsecured
17
                   priority claim of $12,142.70.
18

19          (5) Surrendered Property:
20
               Upon confirmation of this plan or except as otherwise ordered by the Court,
21             bankruptcy stays are lifted as to collateral to be surrendered. Such creditor shall
22             receive no distribution until the creditor timely files a claim or an amended proof of
               claim that reflects any deficiency balance remaining on the claim. Assuming the
23
               creditor has an allowed proof of claim, should the creditor fail to file an amended
24             claim consistent with this provision, the Trustee need not make any distributions to
25             that creditor. Debtors surrender the following property:
26
                (a) None.
27                                                 -3-
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